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UNITED STATES BANKRUPTCY COURT

WESTERN DISTRICT OF NORTH CAROLINA


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22−03018
Shuford v. BJS Insurance, LLC et al




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Case Number :    22−03018
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